Case 1:15-CV-06824-PGG Document 169-6 Filed 03/26/18 Page 1 of 2

EXHIBIT 6

Case 1:15-CV-06824-PGG Document 169-6 Filed 03/26/18 Page 2 of 2

CONF|DENT|AL

113/25le

:The following is -a rebuttal to a "Disciplinef"on 11/-20/13 in Which W_e‘discussed a Verbal
Warning for an “inappropriate statemem" used during supervision in Whic`h l\‘/irs. `Miiagros Arce,
. Supervis'or reported that l said-’-"One-day‘-you will lose your power" l

1,.-\| never subl'ni.t'ted a day offir._~e`qu'e`st lWorked fiioati'ng.holiday 11-1'1»13).
2. - At no point have | said "_On_e day'you-wil| lose-your power.” v j

Aithough, during supervision on 11/6/-13 we discussed working _o"n 1,1/11/13 (Fi_oating Holiday)
and verbaiiy..requested permission to usc my Worked floating holiday on 11'/15/13 (At that
point i`dld not remember that ifhac| e-`Csi`rdiolo'gi$! Proc'edure appointment scheduled for
11/15/~`1_3. then on `1;/13/1312;nio_r=med Mrs._Arce that l did not remembered about having a
procedure on 11/15_/13 and | requested to be off on __1_1/15]13 foran illness day ofi. However,
Mrs. Arce argued that l_ have to go'to the appointment and return rework or l will have to use
my worked floating holiday (11/13.]13') to attend my doctor’s appointment l explained Mrst
Arc-e that .i cannot go to my.appointment and return to work-due to the procedure that l WOS
going to heve._ i~iovve‘vjer, she responded ‘*`i‘h_en you Wili have to use your floating holiciey off to
go to the doctor. Tiiereiore, l did:respon'd-to M`rs. Arcf'e ”Qi_<ay-,Milagros, you have the power to z
use my earned time off as you please/f Tiie reason l responded in that way t"o'Mrs, Arc_e _is
because since the time thatj| have been Wor'ki_ng here at- DCCS (7/9/07) Mrs. Arce,.Supervisor
has used my time as she pleased violating the Uhion contra.`ct, end Po|icy and Procedure-s.

l have concerns thetl v\d|i not be able to express my concerns during.supervision due'to my
comment being taken out of context, because on the same day of the incident i`tried ,to explain
to ivirs. Arce that she took my resp'once out of context it ended in a disciplinary action (See my
supervisory note, date 1 1_/`13/'13._ ' ' ` '

l would-like to take thi_s'opp_oitunlty to express my feelings about many times DCC$
Administra'tors had continually harassed, retaliated and bullied me regarding r'ny disability and-
my work ethic by making inappropriate comments about my hearing disability and calling me
"Deaf" and/or embarrassing me during staff meetingsl The`y have continually miss-construed
Whatever is saici to them to their advantage l hope that through this 1‘ncidentcioors are
opened for training to be provided to' Adminrstretors and Employees about inappropriate
behaviors and the procedures that an E'm.ployee should ta'ke't`o report~i'na'ppro_priate behaviors
from Administ`rntor`s. lv feel this discipline was arbitrary and-capricious

liut‘h Duarte, ..
?»Gii» ’R §M'L, new

enti001057

PLNNTlFF'$

 

